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                                        UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF KENTUCKY
                                                ASHLAND DIVISION


    In re: D.E. TRUE SERVICES, INC.                            §    Case No. 17-10352
                                                               §
                                                               §
                                                               §
                                Debtor(s)


                                            TRUSTEE'S FINAL REPORT (TFR)

           The undersigned trustee hereby makes this Final Report and states as follows:

          1. A petition under Chapter 7 of the United States Bankruptcy Code was filed on 07/13/2017. The
    undersigned trustee was appointed on 10/10/2017.
           2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

           3. All scheduled and known assets of the estate have been reduced to cash, released to the debtor as
    exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned pursuant to 11 U.S.C. § 554.
    An individual estate property record and report showing the disposition of all property of the estate is attached
    as Exhibit A.

           4. The trustee realized the gross receipts of               $            7,125.00
                            Funds were disbursed in the following amounts:

                            Payments made under an
                             interim distribution                                       0.00
                            Administrative expenses                                 4,118.34
                            Bank service fees                                          25.09
                            Other payments to creditors                                  0.00
                            Non-estate funds paid to 3rd Parties                         0.00
                            Exemptions paid to the debtor                                0.00
                            Other payments to the debtor                                 0.00
                            Leaving a balance on hand of1              $            2,981.57
    The remaining funds are available for distribution.

   1The  balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to
   disbursement will be distributed pro rata to creditors within each priority category. The trustee may receive additional
   compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on account of the disbursement
   of the additional interest.




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           5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank account.

           6. The deadline for filing non-governmental claims in this case was 02/28/2018 and the deadline for filing
    governmental claims was 01/09/2018. All claims of each class which will receive a distribution have been
    examined and any objections to the allowance of claims have been resolved. If applicable, a claims analysis,
    explaining why payment on any claim is not being made, is attached as Exhibit C.


           7. The Trustee's proposed distribution is attached as Exhibit D.
           8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is $1,462.50. To
    the extent that additional interest is earned before case closing, the maximum compensation may increase.


            The trustee has received $0.00 as interim compensation and now requests the sum of $1,462.50, for a
    total compensation of $1,462.502. In addition, the trustee received reimbursement for reasonable and necessary
    expenses in the amount of $0.00 and now requests reimbursement for expenses of $132.40 for total expenses
    of $132.402.

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
    and correct.




    Date: 08/21/2020                                     By: /s/ Mark T. Miller
                                                                         Trustee




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. §1320.4(a)(2) applies.




          2If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the

    amounts listed in the Trustee's Proposed Distribution (Exhibit D)



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                                                           Form 1
                                                                                                                                                     Exhibit A
                                       Individual Estate Property Record and Report                                                                  Page: 1

                                                        Asset Cases
Case No.:    17-10352                                                                     Trustee Name:      (370500) Mark T. Miller
Case Name:        D.E. TRUE SERVICES, INC.                                                Date Filed (f) or Converted (c): 07/13/2017 (f)
                                                                                          § 341(a) Meeting Date:       12/04/2017
For Period Ending:       08/21/2020                                                       Claims Bar Date:      02/28/2018

                                   1                              2                      3                      4                    5                    6

                           Asset Description                  Petition/          Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)    Unscheduled         (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                               Values                  Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                               Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                          and Other Costs)

    1       Checking Account Account at PNC Bank,                       0.00                      0.00                                     0.00                        FA
            xxxxxx8224

    2       Other inventory or supplies: 100 gallons                    0.00                      0.00                               4,030.00                          FA
            of Industrial Pain (out of date), Net Book
            Value: $0.00

    3       Monitors.                                                  50.00                     50.00                                     0.00                        FA

    4       Desktop Computer.                                          50.00                     50.00                                     0.00                        FA

    5       1999 Jeep Grand Cherokee.                             1,825.00                    1,900.00                                   190.00                        FA

    6       1991 Ford Pickup.                                     3,222.00                     600.00                                    600.00                        FA

    7       1984 Ford F600.                                       2,571.00                     450.00                                    450.00                        FA

    8       Trailer.                                              1,000.00                     900.00                                      0.00                        FA

    9       Air Compressors.                                      1,500.00                    1,500.00                                   195.00                        FA

   10       Sand Hopper (2).                                      1,000.00                    1,000.00                                     0.00                        FA

   11       Pressure Washer (2).                                  2,000.00                    2,000.00                                   110.00                        FA

   12       Safe Equipment, welder, Sand blasters,                2,000.00                    2,000.00                                     0.00                        FA
            blast hood.

   13       CO Montiors.                                          3,000.00                    3,000.00                                     0.00                        FA

   14       Compressor.                                          10,000.00                   10,000.00                                     0.00                        FA

   15       Graco Pump.                                           1,000.00                    1,000.00                                     0.00                        FA

   16       Sulliar Compressor.                                  15,000.00                     500.00                                    500.00                        FA

   17       Shop equipment.                                       3,000.00                    3,000.00                                     0.00                        FA

   18       Resperator.                                           1,000.00                    1,000.00                                     0.00                        FA

   19       Generator.                                                500.00                   500.00                                      0.00                        FA

   20       Scientific Montior.                                       800.00                   800.00                                      0.00                        FA

   21       BLACK OPEN PULL 12' TANDEM                                  0.00                      0.00                                   500.00                        FA
            TRAILER WITH LANDA PRESSURE
            WASHER (u)

   22       1984 JAGUAR XJS (u)                                         0.00                      0.00                                   250.00                        FA

   23       1985 FORD FLATBED TRUCK (u)                                 0.00                      0.00                                   100.00                        FA

   24       1981 FORDD F701 (u)                                         0.00                      0.00                                   200.00                        FA

   24       Assets Totals (Excluding unknown values)            $49,518.00                $30,250.00                                $7,125.00                    $0.00


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                                                                                                                                       Exhibit A
                                    Individual Estate Property Record and Report                                                       Page: 2

                                                     Asset Cases
Case No.:   17-10352                                                         Trustee Name:      (370500) Mark T. Miller
Case Name:      D.E. TRUE SERVICES, INC.                                     Date Filed (f) or Converted (c): 07/13/2017 (f)
                                                                             § 341(a) Meeting Date:     12/04/2017
For Period Ending:     08/21/2020                                            Claims Bar Date:     02/28/2018


 Major Activities Affecting Case Closing:

                           02/15/2020 TRUSTEE TO REVIEW CLAIMS AND PREPARE TFR.

                           03/29/2018 REPORT OF SALE FILED WITH COURT.

                           08/04/2018 AUCTION HELD BY BILL T. MCCONNELL, AUCTIONEER.

                           08/01/2018 ORDER ON APPLICATION TO EMPLOY ENTERED BY COURT.

                           07/13/2018 MOTION-AFFIDAVIT & PROPOSED ORDER TO APPOINT BILL T. MCCONNELL
                           AUCTIONEER TO AUCTION VEHICLES; OFFICE EQUIPMENT, ETC. LAST DATE TO FILE OBJECTIONS
                           IS 7/24/2018.

                           07/12/2018 NOTICE OF INTENT TO SELL VARIOUS VEHICLES; OFFICE EQUIPMENT, ETC AT PUBLIC
                           AUCTION FILED WITH COURT. AUCTION TO BE HELD ON 8/4/2018 LOCATED AT 8804 MEAD
                           SPRINGER ROAD, ASHLAND, KY. LAST DATE TO FILE OBJECTIONS IS 8/2/2018.

                           03/20/2018 TRUSTEE INSPECTED PROPERTY WITH AUCTIONEER. AUCTION TO BE SET.

                           01/22/2018 §341 MEETING HELD.

                           01/19/2018 §341 MOC RESCHEDULED FROM 1/22/2018 TO 2/5/2018 DUE TO POSSIBLE GOVERNMENT
                           SHUTDOWN.

                           11/30/2017 NOTICE OF SUFFICIENT ASSETS FILED WITH COURT. CLAIMS BAR DATE IS 2/28/2018.


 Initial Projected Date Of Final Report (TFR): 05/31/2018            Current Projected Date Of Final Report (TFR):        10/02/2020




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                                                            Form 2                                                                                Exhibit B
                                                                                                                                                  Page: 1
                                            Cash Receipts And Disbursements Record
Case No.:              17-10352                                     Trustee Name:                     Mark T. Miller (370500)
Case Name:             D.E. TRUE SERVICES, INC.                     Bank Name:                        Mechanics Bank
Taxpayer ID #:         **-***6499                                   Account #:                        ******7100 Checking
For Period Ending: 08/21/2020                                       Blanket Bond (per case limit): $6,000,000.00
                                                                    Separate Bond (if applicable): N/A

    1          2                        3                                  4                               5                       6                        7

  Trans.    Check or       Paid To / Received From     Description of Transaction         Uniform       Deposit              Disbursement          Account Balance
   Date      Ref. #                                                                      Tran. Code       $                        $

 04/23/19              BILL T MCCONNELL              SALE PROCEEDS FROM                                        7,125.00                                         7,125.00
                       AUCTIONEER                    AUCTION
              {6}                                    SALE PROCEEDS                       1129-000
                                                                               $600.00
              {5}                                    SALE PROCEEDS                       1129-000
                                                                               $190.00
              {7}                                    SALE PROCEEDS                       1129-000
                                                                               $450.00
              {16}                                   SALE PROCEEDS                       1129-000
                                                                               $500.00
              {11}                                   SALE PROCEEDS                       1129-000
                                                                               $110.00
              {9}                                    SALE PROCEEDS                       1129-000
                                                                               $195.00
              {21}                                   SALE PROCEEDS                       1229-000
                                                                               $500.00
              {22}                                   SALE PROCEEDS                       1229-000
                                                                               $250.00
              {23}                                   SALE PROCEEDS                       1229-000
                                                                               $100.00
              {24}                                   SALE PROCEEDS                       1229-000
                                                                               $200.00
              {2}                                    SALE PROCEEDS                       1129-000
                                                                           $4,030.00
 11/15/19     101      Bill T. McConnell             AUCTIONEER FEE                                                                     712.50                  6,412.50
                       Bill T. McConnell             AUCTIONEER FEE FOR                  3610-000
                                                     SELLING VEHICLES
                                                                               $350.00
                       Bill T. McConnell             AUCTIONEER FEE FOR                  3610-000
                                                     SELLING REMAINING ITEMS
                                                     (NON VEHICLES)
                                                                               $362.50
 11/15/19     102      Bill T. McConnell             AUCTIONEER EXPENSES                                                               3,405.84                 3,006.66
                       Bill T. McConnell             VEHICLE TAXES DUE & OWING           3620-000
                                                                               $150.59
                       Bill T. McConnell             PRORATED EXPENSES TO                3620-000
                                                     SELL VEHICLES
                                                                           $1,598.98
                       Bill T. McConnell             PRORATED EXPENSES TO                3620-000
                                                     SELL ALL REMAINING ITEMS
                                                     (NON VEHICLES)
                                                                           $1,656.27
 03/31/20              Mechanics Bank                Bank and Technology Services        2600-000                                         5.00                  3,001.66
                                                     Fees
 04/30/20              Mechanics Bank                Bank and Technology Services        2600-000                                         5.00                  2,996.66
                                                     Fees
                                                                                    Page Subtotals:       $7,125.00              $4,128.34


{ } Asset Reference(s)        UST Form 101-7-TFR (5/1/2011)                                                               ! - transaction has not been cleared
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                                                              Form 2                                                                                 Exhibit B
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                                              Cash Receipts And Disbursements Record
Case No.:              17-10352                                          Trustee Name:                 Mark T. Miller (370500)
Case Name:             D.E. TRUE SERVICES, INC.                          Bank Name:                    Mechanics Bank
Taxpayer ID #:         **-***6499                                        Account #:                    ******7100 Checking
For Period Ending: 08/21/2020                                            Blanket Bond (per case limit): $6,000,000.00
                                                                         Separate Bond (if applicable): N/A

    1          2                        3                                       4                             5                       6                        7

  Trans.    Check or      Paid To / Received From           Description of Transaction     Uniform        Deposit               Disbursement          Account Balance
   Date      Ref. #                                                                       Tran. Code        $                         $

 05/29/20              Mechanics Bank                     Bank and Technology Services     2600-000                                          5.00                  2,991.66
                                                          Fees
 06/30/20              Mechanics Bank                     Bank and Technology Services     2600-000                                          5.09                  2,986.57
                                                          Fees
 07/31/20              Mechanics Bank                     Bank and Technology Services     2600-000                                          5.00                  2,981.57
                                                          Fees

                                            COLUMN TOTALS                                                         7,125.00                4,143.43                 $2,981.57
                                                  Less: Bank Transfers/CDs                                            0.00                    0.00
                                            Subtotal                                                              7,125.00                4,143.43
                                                  Less: Payments to Debtors                                                                   0.00

                                            NET Receipts / Disbursements                                      $7,125.00                $4,143.43




{ } Asset Reference(s)       UST Form 101-7-TFR (5/1/2011)                                                                   ! - transaction has not been cleared
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                                                     Form 2                                                               Exhibit B
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                                     Cash Receipts And Disbursements Record
Case No.:         17-10352                                 Trustee Name:                   Mark T. Miller (370500)
Case Name:        D.E. TRUE SERVICES, INC.                 Bank Name:                      Mechanics Bank
Taxpayer ID #:    **-***6499                               Account #:                      ******7100 Checking
For Period Ending: 08/21/2020                              Blanket Bond (per case limit): $6,000,000.00
                                                           Separate Bond (if applicable): N/A




                                                                                              NET                    ACCOUNT
                               TOTAL - ALL ACCOUNTS                     NET DEPOSITS     DISBURSEMENTS               BALANCES
                               ******7100 Checking                             $7,125.00          $4,143.43               $2,981.57

                                                                               $7,125.00                $4,143.43          $2,981.57




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                                                            Exhibit C
                                              Analysis of Claims Register
                                Case:17-10352                            D.E. TRUE SERVICES, INC.
                                                                                    Claims Bar Date: 02/28/18


 Claim                 Claimant Name/                   Claim Type/                   Amount Filed/        Paid          Claim
                                                                        Claim Ref
  No.                <Category>, Priority                Date Filed                     Allowed          to Date        Balance

3-2      PNC BANK, NA                             Secured                                 $144,456.31           $0.00   $292,976.31
         245 NORTH ROSE, MAILSTOP Z1-YC77-03-
                                                  12/14/17                                $292,976.31
         3
         KALAMAZOO, MI 49007
         <4110-000 Real Estate - Consensual Liens
         (mortgages, deeds of trust)>
         , 210

BTM      Bill T. McConnell                             Administrative                           $0.00    $3,405.84            $0.00
EXP      1833 Main Street
                                                       11/15/19                              $3,405.84
         Paris, KY 40361-1108
         <3620-000 Auctioneer/Liquidator for Trustee
         Expenses>
         , 200
         AUCTIONEER EXPENSES
BTM      Bill T. McConnell                             Administrative                           $0.00      $712.50            $0.00
FEE      1833 Main Street
                                                       11/15/19                               $712.50
         Paris, KY 40361-1108
         <3610-000 Auctioneer/Liquidator for Trustee
         Fees>
         , 200
         AUCTIONEER FEE FOR SELLING DEBTORS' PROPERTY
FEE      Mark T. Miller                                Administrative                        $1,462.50          $0.00     $1,462.50
         CH. 7 BANKRUPTCY TRUSTEE
                                                       07/22/20                              $1,462.50
         300 1/2 WEST MAPLE STREE
         NICHOLASVILLE, KY 40356
         <2100-000 Trustee Compensation>
         , 200

TE       Mark T. Miller                                Administrative                         $132.40           $0.00       $132.40
         CH. 7 BANKRUPTCY TRUSTEE
                                                       07/22/20                               $132.40
         300 1/2 WEST MAPLE STREE
         NICHOLASVILLE, KY 40356
         <2200-000 Trustee Expenses>
         , 200

2        OHIO BUREAU OF WORKERS'                    Priority                                  $448.07           $0.00       $448.07
         COMPENSATION
                                                    09/19/17                                  $448.07
         PO BOX 15567
         COLUMBUS, OH 43215-0567
         <5800-000 Claims of Governmental Units - §
         507(a)(8)>
         , 570



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                                                         Exhibit C
                                               Analysis of Claims Register
                                Case:17-10352                        D.E. TRUE SERVICES, INC.
                                                                                Claims Bar Date: 02/28/18

 Claim                Claimant Name/                  Claim Type/                 Amount Filed/        Paid          Claim
                                                                    Claim Ref
  No.               <Category>, Priority               Date Filed                   Allowed          to Date        Balance

6P       IUPAT INDUSTRY PENSION FUND C/O             Priority                          $30,363.40           $0.00       $529.56
         DAWN M. COSTA/JENNINGS SIGMOND,
                                                     02/28/18                             $529.56
         P.C.
         1835 MARKET STREET, SUITE 2800
         PHILADELPHIA, PA 19103
         <5400-000 Contributions to Employee Benefit
         Plans - § 507(a)(5)>
         , 210

1        KENTUCKY DEPARTMENT OF REVENUE             Unsecured                               $0.00           $0.00         $0.00
         LEGAL SUPPORT BRANC
                                                    09/19/17                                $0.00
         PO BOX 5222
         FRANKFORT, KY 40602
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

4        POWER COATINGS INC                         Unsecured                            $5,167.35          $0.00     $5,167.35
         PO BOX 245
                                                    12/18/17                             $5,167.35
         100 PICKENS RD
         NITRO, WV 25143
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

5        IUPAT INDUSTRY PENSION FUND C/O            Unsecured                            $6,973.95          $0.00     $6,973.95
         DAWN M. COSTA/JENNINGS SIGMOND,
                                                    02/21/18                             $6,973.95
         P.C.
         1835 MARKET STREET, SUITE 2800
         PHILADELPHIA, PA 19103
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610

6U       IUPAT INDUSTRY PENSION FUND C/O            Unsecured                         $328,616.60           $0.00   $328,616.60
         DAWN M. COSTA/JENNINGS SIGMOND,
                                                    02/28/18                          $328,616.60
         P.C.
         1835 MARKET STREET, SUITE 2800
         PHILADELPHIA, PA 19103
         <7100-000 Section 726(a)(2) General
         Unsecured Claims>
         , 610




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                                                         Exhibit C
                                              Analysis of Claims Register
                                 Case:17-10352                       D.E. TRUE SERVICES, INC.
                                                                                Claims Bar Date: 02/28/18

 Claim                 Claimant Name/                 Claim Type/                 Amount Filed/        Paid          Claim
                                                                    Claim Ref
  No.                <Category>, Priority              Date Filed                   Allowed          to Date        Balance

7        PRICHARD LAWNCARE INC                       Unsecured                            $225.00           $0.00       $225.00
         PO BOX 5234
                                                     06/13/18                             $225.00
         ASHLAND, KY 41105
         <7200-000 Section 726(a)(3) Tardily Filed
         General Unsecured Claims>
         , 620


                                                                                       Case Total:    $4,118.34     $636,531.74




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                                       TRUSTEE'S PROPOSED DISTRIBUTION
                                                                                                              Exhibit D


    Case No.: 17-10352
    Case Name: D.E. TRUE SERVICES, INC.
    Trustee Name: Mark T. Miller

                                                     Balance on hand:       $                              2,981.57

           Claims of secured creditors will be paid as follows:

  Claim      Claimant                                        Claim        Allowed          Interim           Proposed
  No.                                                     Asserted        Amount       Payments to            Payment
                                                                          of Claim            Date

  3-2        PNC BANK, NA                                144,456.31      292,976.31                0.00         857.11

                                                  Total to be paid to secured creditors:       $                 857.11
                                                  Remaining balance:                           $               2,124.46

           Applications for chapter 7 fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                          Total            Interim         Proposed
                                                                        Requested          Payments           Payment
                                                                                             to Date

  Trustee, Fees - Mark T. Miller                                           1,462.50                0.00        1,462.50
  Trustee, Expenses - Mark T. Miller                                         132.40                0.00         132.40
  Auctioneer Fees - Bill T. McConnell                                        712.50           712.50                 0.00
  Auctioneer Expenses - Bill T. McConnell                                  3,405.84         3,405.84                 0.00
                        Total to be paid for chapter 7 administrative expenses:                $               1,594.90
                        Remaining balance:                                                     $                 529.56

           Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                    Total           Interim             Proposed
                                                                      Requested       Payments            Payment

                                                        None


                      Total to be paid for prior chapter administrative expenses:              $                   0.00
                      Remaining balance:                                                       $                 529.56




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              In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $977.63 must be paid in advance of any dividend to general (unsecured)
      creditors.
              Allowed priority claims are:
  Claim       Claimant                             Allowed Amount         Interim Payments             Proposed
  No.                                                     of Claim                  to Date             Payment

  2           OHIO BUREAU OF WORKERS'                        448.07                     0.00                   0.00
              COMPENSATION
  6P          IUPAT INDUSTRY PENSION                         529.56                     0.00                 529.56
              FUND C/O DAWN M.
              COSTA/JENNINGS SIGMOND,
              P.C.

                                                    Total to be paid for priority claims:      $             529.56
                                                    Remaining balance:                         $               0.00

             The actual distribution to wage claimants included above, if any, will be the proposed payment
      less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).
             Timely claims of general (unsecured) creditors totaling $340,757.90 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
      applicable).
            Timely allowed general (unsecured) claims are as follows:
  Claim       Claimant                             Allowed Amount         Interim Payments             Proposed
  No.                                                     of Claim                  to Date             Payment

  1           KENTUCKY DEPARTMENT OF                            0.00                    0.00                   0.00
              REVENUE LEGAL SUPPORT
              BRANC
  4           POWER COATINGS INC                            5,167.35                    0.00                   0.00
  5           IUPAT INDUSTRY PENSION                        6,973.95                    0.00                   0.00
              FUND C/O DAWN M.
              COSTA/JENNINGS SIGMOND,
              P.C.
  6U          IUPAT INDUSTRY PENSION                     328,616.60                     0.00                   0.00
              FUND C/O DAWN M.
              COSTA/JENNINGS SIGMOND,
              P.C.
                         Total to be paid for timely general unsecured claims:                 $               0.00
                         Remaining balance:                                                    $               0.00

             Tardily filed claims of general (unsecured) creditors totaling $225.00 have been allowed and will
      be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
      claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
      interest (if applicable).
             Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                               Allowed Amount        Interim Payments                Proposed
  No.                                                       of Claim                 to Date                Payment

  7           PRICHARD LAWNCARE INC                          225.00                     0.00                   0.00



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                       Total to be paid for tardily filed general unsecured claims:         $                  0.00
                       Remaining balance:                                                   $                  0.00

          Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
    subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only after all
    allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
    subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).
          Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
    subordinated by the Court are as follows:
  Claim     Claimant                             Allowed Amount         Interim Payments              Proposed
  No.                                                   of Claim                  to Date              Payment

                                                      None


                                                Total to be paid for subordinated claims: $                    0.00
                                                Remaining balance:                        $                    0.00




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